From:              Allen, Lynn - OIG <Allen.Lynn@oig.dol.gov>
Sent:              Thursday, May 26, 2011 11:10 AM
To:                Garcia, Cheryl - OIG
Subject:           Re: Carpenter



Can you call David about this?
860‐883‐1941

‐‐‐‐‐ Original Message ‐‐‐‐‐
From: Garcia, Cheryl ‐ OIG
Sent: Thursday, May 26, 2011 11:07 AM
To: 'David.Novick@usdoj.gov' <David.Novick@usdoj.gov>
Cc: Allen, Lynn ‐ OIG; Gilbey, Vincent ‐ OIG
Subject: Carpenter

He is willing to talk and has an attorney here now, Gerald Giaimo. Can we let him talk?




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